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         Executive Grant of Clemency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

        AFTER CONSIDERING THE APPLICATIONS for executive clemency of the
following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on May 19, 2017, leaving intact and in effect
for each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence:


       Daniel Ary, Jr.                              Reg. No. 13830-035
       Demetrius S. Autery                          Reg. No. 49069-018
       Herman Barron, III                           Reg. No. 37799-037
       Tony Barrow                                  Reg. No. 26715-069
       Curtis Bell                                  Reg. No. 09304-002
       Benjamin Blount                              Reg. No. 06674-035
       Rodney Rodriguez Brown                       Reg. No. 10448-003
       Tiara Buskey                                 Reg. No. 06141-017
       Willie Albert Cannon                         Reg. No. 17515-018
       Artrone Cheatham                             Reg. No. 11101-002
       Jeffrey Glynn Coleman                        Reg. No. 07284-089
       Cortez Cooper                                Reg. No. 14046-424
       Timothy G. Craig                             Reg. No. 11305-171
       Timothy Lashaun Dandridge                    Reg. No. 27345-001
       Terrance H. Darby                            Reg. No. 26554-050
       Michael A. Douglas, Jr.                      Reg. No. 08734-028
       Dezmend Rashawn Doweary                      Reg. No. 25353-083
       Christopher Demetrius Elliott                Reg. No. 12096-017
       Carroll James Flowers                        Reg. No. 07969-031
       Juan Garcia                                  Reg. No. 16710-074
       Raymond Garcia                               Reg. No. 38380-048
       Antonio Maurice Gardner                      Reg. No. 56469-180
       Waymon Audra Goodley                         Reg. No. 46376-080
       William Goodwill                             Reg. No. 14116-026
       Samuel Green                                 Reg. No. 03556-015
       Vaughn Greene                                Reg. No. 60082-019
       Monica Haro,                                 Reg. No. 94642-179
         aka Monica Michelle Ramirez
       Shaun Kevin Harris                           Reg. No. 34184-037
       Walter Henry, III                            Reg. No. 22526-016
       Lejandra Deshawn Herman                      Reg. No. 31100-074
       Keith Angelo Hernandez                       Reg. No. 46142-019
       Ramiro Hernandez                             Reg. No. 09761-079
       Eric Hinton                                  Reg. No. 25149-039
       Antwaine Tacoma Johnson                      Reg. No. 25797-056
       Karmell Demetrius Johnson                    Reg. No. 09380-003
       Corey Kelly                                  Reg. No. 40103-050
       John Kelly                                   Reg. No. 12931-035
       Douglas Kennedy                              Reg. No. 26784-050
       Robert Ketchledge                            Reg. No. 75912-004
       Dennis Chan Lai                              Reg. No. 82124-011
       Wendell Layne                                Reg. No. 15370-074
       James Marcus LeBlanc                         Reg. No. 13406-035
       Tarry Cordell London                         Reg. No. 13127-035
       James Keith Loveless                         Reg. No. 01266-081
       Larry Steven Malone                          Reg. No. 23741-086
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       John McCallum                                Reg. No. 66131-066
       Jeffrey Preston McClung                      Reg. No. 05929-084
       Frederick McGary                             Reg. No. 29994-034
       Cartell Alexander McLemorc                   Reg. No. 07997-089
       Terry Mitchell                               Reg. No. 09295-002
       Emmett Alvin Monson                          Reg. No. 16891-057
       Richard Ruiz Montes                          Reg. No. 63130-097
       Anthony Lawayne Moon                         Reg. No. 30548-074
       Larry D. Moon                                Reg. No. 05525-033
       Fred Lenard Morrison                         Reg. No. 92974-071
       Dottie Nixon                                 Reg. No. 15138-058
       Deon Christopher Nowell                      Reg. No. 11210-171
       William Howard Penn, Jr.                     Reg. No. 09172-035
       Max Orvel Plumlee                            Reg. No. 04859-032
       Calvin Pritchett                             Reg. No. 30550-160
       Gerald Robinson                              Reg. No. 32838-044
       Juan Rodriguez                               Reg. No. 85176-079
       Germaine Roebuck                             Reg. No. 14042-026
       Dyron K. Sampson                             Reg. No. 13813-035
       Felicia Smith                                Reg. No. 12424-035
       Anthony B. Southard                          Reg. No. 53400-060
       Michael Stacey                               Reg. No. 17882-058
       Jason L. Stewart                             Reg. No. 04781-087
       Jeffrey Tate                                 Reg. No. 16877-056
       Joshua John Terry                            Reg. No. 41321-074
       Jerome Thompson                              Reg. No. 19923-045
       William Thorne                               Reg. No. 27297-050
       James Tranmer                                Reg. No. 17547-050
       Melvin Tucker                                Reg. No. 03020-029
       John Robinson Turner                         Reg. No. 03073-017
       Timmy Don Ware                               Reg. No. 10334-064
       Donald Welch                                 Reg. No. 39994-018
       Glenn Williams                               Reg. No. 15975-056
       Robert Lee Williams, III                     Reg. No. 23834-057
       William Wilson                               Reg. No. 29809-034
       Antonio Antwain Young                        Reg. No. 31644-074
       Calvin Tyrone Young                          Reg. No. 18663-057


        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to expire on May 19, 2017. I also remit the unpaid balance of the fine
imposed by the court on each individual. I       intact and in effect for each named person the
term of supervised release imposed by the court with all its conditions and all other components
of each respective sentence:

       James Anthony Frink                          Reg. No. 30088-056
       Rene Garcia, Jr.                             Reg. No. 09387-045
       Charles Harrison                             Reg. No. 22520-016
       Michael Anthony Mahan                        Reg. No. 12075-040
       Charles Edward Price                         Reg. No. 09272-043
       Marvin G. Roland                             Reg. No. 18079-056
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       I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to expire on July 18, 2017, leaving intact and in effect for each named
person the term of supervised release imposed by the court with all its conditions and all other
components of each respective sentence:

       Gary J. Anderson                              Reg. No. 26703-038
       Sergio Ramirez                                Reg. No. 06609-030
       Aaron A. Scott                                Reg. No. 33931-183


        I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to expire on January 19, 2018, leaving intact and in effect for each
named person all other components of each respective sentence. I also direct the Bureau of
Prisons to place each of the following named persons on prerelease confinement as soon as
practicable:

       Robert James Riley                            Reg. No. 59047-065
       Jim L. Townsend                               Reg. No. 13003-076


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 168 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Calvin Burkett Clark                          Reg. No. 16861-171
       Trenton A. Copeland                           Reg. No. 63027-019


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of.180 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Thomas Burton                                 Reg. No. 61512-080
       Jonathan L. Stout                             Reg. No. 19935-076


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 188 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Robert Raymond Garza                          Reg. No. 24608-077
       Linwood Claude Harris, Jr.                    Reg. No. 56549-019
       Domingo Hernandez                             Reg. No. 27536-050
       Lawrence Smith                                Reg. No. 34308-018
       Derrick White                                 Reg. No. 29922-034


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 200 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       John Robinson                                 Reg. No. 21207-058
       Raymond Allen Watts                           Reg. No. 39160-037
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        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 210 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Saeed Abdul Muhammad,                        Reg. No. 01217-707
        fka Keith Wayne McFalls
       Jose Alfredo Sanchez, Jr.                    Reg. No. 09462-059


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 240 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       James McDade                                 Reg. No. 09471-035
       Leo Muhammad                                 Reg. No. 27959-044


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 262 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Lesly Alexis                                 Reg. No. 56489-004
       Raul Chavez                                  Reg. No. 99230-011
       Charles Lee Parker                           Reg. No. 55850-019


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 360 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Christopher Bass                             Reg. No. 11838-017
       John Timothy Cotton                          Reg. No. 32736-077
       Keith Adell Dancer                           Reg. No. 60830-080
       Robert L. Franklin                           Reg. No. 09289-002
       Tyrone Grimes                                Reg. No. 53947-053
       Ricky Lee Groves                             Reg. No. 19069-016
       Gilbert Lopez                                Reg. No. 45561-066
       Randy McMahan                                Reg. No. 14706-171
       Deone Antonio Melvin                         Reg. No. 37924-037
       Johnnie C. Reed                              Reg. No. 03997-017
       Jeremy Simmons                               Reg. No. 08672-028
       Marshane Woods                               Reg. No. 20398-074


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 360 months' imprisonment. I also remit the unpaid
balance of the fine imposed by the court on each individual that remains when his prison
sentence expires. I leave intact and in effect for each named person the term of supervised
release imposed by the court with all its conditions and all other components of each respective
sentence:

       Efrem Zemblish Harris                        Reg. No. 06890-062
       Linnard 0. Lawson                            Reg. No. 09741-068
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        I hereby further commute the total sentence of imprisonment imposed upon Henry P.
Bennett, Jr., Reg. No. 86822-071, to a term of 273 months' imprisonment, leaving intact and
in effect the 10-year term of supervised release with all its conditions and all other components
of the sentence.



        I hereby further commute the total sentence of imprisonment imposed upon Kenneth
Clark, Reg. No. 15878-026, to a term of 120 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.



        I hereby further commute the total sentence of imprisonment imposed upon Maria Aide
Delgado, Reg. No. 68452-179, in Docket No. 06-60074-005 in the Western District of Louisiana
to a term of 110 months' imprisonment, leaving intact and in effect the 10-year term of
supervised release with all its conditions and all other components of the sentence. I intend for
the 110-month sentence to run consecutively to the 100-month sentence imposed in Docket No.
7:06CR00981-001 in the Southern District of Texas. I remit the unpaid balance of the $15,000
fine imposed in Docket No. 7:06CR00981-001 in the Southern District of Texas that remains
when that sentence expires, also leaving intact and in effect the four-year term of supervised
release with all its conditions and all other components of the sentence imposed in Docket No.
7:06CR00981-001.



        I hereby further commute the total sentence of imprisonment imposed upon Travis J.
Every, Reg. No. 30502-034, to a term of 175 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.



        I hereby further commute the total sentence of imprisonment imposed upon Terry
Glasscock, Reg. No. 11178-017, to a term of 295 months' imprisonment, leaving intact and in
effect the five-year term of supervised release with all its conditions and all other components of
the sentence.



       I hereby further commute the total sentence of imprisonment imposed upon Andre
Haynes, Reg. No. 64654-004, to expire on October 16, 2017, leaving intact and in effect the
five-year term of supervised release with all its conditions and all other components of the
sentence.



        I hereby further commute the total sentence of imprisonment imposed upon Brian
Douglas Hoggard, Reg. No. 61243-066, to expire on July 19, 2018. I also remit the remaining
unpaid balance of the $3,000 fine that remains when his sentence expires. I leave intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.



        I hereby further commute the total sentence of imprisonment imposed upon Walter
Jenkins, Reg. No. 29361-013, to a term of 322 months' imprisonment, leaving intact and in
effect the five-year term of supervised release with all its conditions and all other components of
the sentence.
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        I hereby further"commute the total sentence of imprisonment imposed upon Dempsey
Johnson, Reg. No. 20321-045, to a term of 162 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.




        I hereby further commute the total sentence of imprisonment imposed upon Allan
Aquino Lafuente, Reg. No. 95565-022, to a term of 180 months' imprisonment. I also remit
the remaining unpaid balance of the $1,000 fine that remains when his sentence expires. I leave
intact and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.




        I hereby further commute the total sentence of imprisonment imposed upon Steven
Rayford Moore, Reg. No. 08653-078, to a term of 262 months' imprisonment. I also remit the
remaining unpaid balance of the $5,000 fine that remains when his sentence expires. I leave
intact and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.




        I hereby further commute the total sentence of imprisonment imposed upon Cory D.
Mosby, Reg. No. 13521-026, to a term of 195 months' imprisonment. I also remit the
remaining unpaid balance of the $2,500 fine that remains when his sentence expires. I leave
intact and in effect the eight-year term of supervised release with all its conditions and all other
components of the sentence.




        I hereby further commute the total sentence of imprisonment imposed upon Ramon A.
Santos, Reg. No. 05491-070, to a term of 188 months' imprisonment. I also remit the
remaining unpaid balance of the $25,000 fine that remains when his sentence expires. I leave
intact and in effect the five-year term of supervised release with all its conditions and all other
components of the sentence.




        I hereby further commute the total sentence of imprisonment imposed upon Michael
William Shranklen, Reg. No. 06436-030, to expire on August 17, 2017, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.




        I hereby further commute the total sentence of imprisonment imposed upon Jubali
Dushawn Stokes, Reg. No. 09668-089, to a term of 120 months' imprisonment. I also
commute the supervised release condition requiring him to repay $2,010 of "buy money". I leave
intact and in effect the 10-year term of supervised release with all its other conditions, save for
repayment of the buy money, and all other components of the sentence.
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        I hereby further commute the total sentence of imprisonment imposed upon Eric Arthur
Walton, Reg. No. 21074-101, to a term of 387 months' imprisonment, leaving intact and in
effect the 13-year term of supervised release with all its conditions and all other components of
the sentence.




        I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                     Done at the City of Washington this
                                                     Nineteenth day of January in the year of our
                                                     Lord Two thousand and seventeen and of the
                                                     Independence of the United States the
                                                     two hundred and forty-first.




                                                        BARACK OBAMA
                                                           President
